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               IN THE UNITED STATES DISTRICT COURT FOR THE
                         EASTERN DISTRICT OF VIRGINIA
                               Alexandria Division


 UNITED STATES OF AMERICA


                 V.                                  CaseNo. l;25-CR-203


 RAYMOND LAIRD DAVIS, JR.                            Count 1: Possession with Intent to
                                                     Distribute Cocaine
                  Defendant.                         (21 U.S.C. § 841(a), (b)(1)(C))

                                                     Count 2: Possession with Intent to
                                                     Distribute Fentanyl
                                                     (21 U.S.C. § 841(a), (b)(1)(C))

                                                     Counts: Possession with Intent to
                                                     Distribute 3,4-
                                                     Methylenedioxymethamphetamine
                                                     (21 U.S.C. § 841(a), (b)(1)(C))

                                                     Count 4: Using and Carrying a
                                                     Firearm During and in Relation to a
                                                     Drug Trafficking Crime
                                                     (18 U.S.C. § 924(c)(1)(A))

                                                     Count 5: Felon in Possession of a
                                                     Firearm
                                                     (18 U.S.C. § 922(g)(1))

                                                     Forfeiture Notice



                                     INDICTMENT
                         July 2025 Term - at Alexandria. Virginia

                                       COUNT ONE
                       (Possession with Intent to Distribute Cocaine)

      THE GRAND JURY CHARGES THAT:


      On or about February 14, 2025, in Prince William County, Virginia, within the Eastern

District of Virginia, the defendant, RAYMOND LAIRD DAVIS JR, did knowingly possess with

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the intent to distribute a mixture and substance containing a detectable amount of cocaine, a

Schedule II controlled substance.


       (In violation of Title 21, United States Code, Section 841(a)(1), (b)(1)(C).)




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                                         COmT TWO
                         (Possession with Intent to Distribute Fentanyl)

       THE GRAND JURY CHARGES THAT:


       On or about February 14, 2025, in Prince William County, Virginia, within the Eastern

District of Virginia, the defendant, RAYMOND LAIRD DAVIS, JR., did knowingly possess with

the intent to distribute a mixture and substance containing a detectable amount of N-phenyl-N-[l-

(2-phenylethyl)-4-piperidinyl] propanamide, commonly known as fentanyl, a Schedule II

controlled substance.


       (In violation of Title 21, United States Code, Section 841(a)(1), (b)(1)(C).)




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                                        COUNT THREE
             (Possession with Intent to Distribute Methylenedioxymethamphetamine)

       THE GRAND JURY CHARGES THAT:


       On or about February 14, 2025, in Prince William County, Virginia, within the Eastern

District of Virginia, the defendant, RAYMOND LAIRD DAVIS, JR., did knowingly possess with

the intent to distribute a mixture and substance containing a detectable amount of 3,4-

methylenedioxymethamphetamine, commonly known as MDMA, a Schedule I controlled

substance.                     I




       (In violation of Title 21, United States Code, Section 841(a)(1), (b)(1)(C).)




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                                          COUNT FOUR
        (Using and Carrying a Firearm During and in Relation to a Drug Trafficking Case)


        THE GRAND JURY CHARGES THAT:


        On or about Februaiy 14, 2025, in Prince William County, Virginia, within the Eastern

District of Virginia, the defendant, RAYMOND LAIRD DAVIS, JR., did knowingly use and carry

a firearm during and in relation to a drug trafficking crime for which he may be prosecuted in a

court of the United States, to wit, possession with intent to distribute cocaine, possession with

intent to distribute fentanyl, and possession with intent to distribute MDMA, in violation of Title

21, United States Code, Section 841(a)(1), as set forth and charged in Counts 1-3 of this

Indictment, respectively, and did knowingly possess a firearm in furtherance of those drug

trafficking crimes.

        (In violation of Title 18, United States Code, Section 924(c)(1)(A).)




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                                          COUNT FIVE
                               (Felon in Possession of a Firearm)

       THE GRAND JURY FURTHER CHARGES I'HAT:


       On or about February 14, 2025, in Prince William County, Virginia, within the Eastern

District of Virginia,. the defendant, RAYMOND LAIRD DAVIS, JR., knowing that he had

previously been convicted of a crime punishable by imprisonment for a term exceeding one year,

did knowingly possess a firearm, that is, a Glock 47 .40 caliber pistol bearing serial number

BMAV115, and a Masterpiece Arms 9mm pistol bearing serial number B13099, privately made

firearm Glock style pistol bearing no serial number but stamped Geisler Defense and made in

Israel, said firearms having been shipped and transported in interstate and foreign commerce.

       (In violation of Title 18, United States Code, Section 922(g)(1).)




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                                      FORFEITURE NOTICE


        THE GRAND JURY FURTHER FINDS PROBABLE CAUSE FOR FORFEITURE, AS

DESCRIBED BELOW:


        Pursuant to Rule 32.2(a) of the Federal Rules of Criminal Procedure, the defendant,

RAYMOND LAIRD DAVIS, JR., is hereby notified that, if convicted of any of the offenses

alleged in this Indictment, he shall forfeit to the United States, pursuant to Title 18, United States

Code, Section 924(d)(1) and Title 28, United States Code, Section 2461(c), all firearms and

ammunition involved in or used in the offense.


       Pursuant to Rule 32.2(a) of the Federal Rules of Criminal Procedure, the defendant.

RAYMOND LAIRD DAVIS, JR., is hereby further notified that, if convicted of the offense

alleged in Counts 1 through 3 of this Indictment, he shall forfeit to the United States, pursuant to

Title 21, United States Code, Section 853(a), the following: (1) any property constituting, or

derived from, any proceeds the defendant obtained, directly or indirectly, as the result of such

violation; and (2) any of the defendant’s property used, or intended to be used, in any manner or

part, to commit, or to facilitate the commission of, such violation.

       The property subject to forfeiture includes, but is not limited to, the following:

       1.      Glock 47 .40 caliber pistol bearing serial number BMAVl 15;

       11.     Masterpiece Arms 9mm pistol bearing serial number B13099;

       111.    Privately made firearm Glock style pistol bearing no serial number stamped Geisler

               Defense and made in Israel;

       IV.     Nine rounds of mixed .40W ammunition;

       V.      Thirty-two rounds of 9mm ammunition;

       VI.     $10,811.53.



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       Pursuant to Title 21, United States Code, Section 853(p), the defendant, RAYMOND

LAIRD DAVIS, JR., shall forfeit substitute property, if, by any act or omission of the defendant,

RAYMOND LAIRD DAVIS, JR., the property referenced above- camiot be located upon the

exercise of due diligence; has been transferred, sold to, or deposited with a third party; has been

placed beyond the jurisdiction of the Court; has been substantially diminished in value; or has been

commingled with other property which cannot be divided without difficulty.

       (All pursuant to Title 18, United States Code, Section 924(d)(1); Title 21, United States
Code, Section 853; Title 28, United States Code, Section 2461(c); and Rule 32.2(a) of the Federal
Rules of Criminal Procedure.


                                                      A TRUE BILL:




                                                      SSS--!.
                                                      mRKPRRsoN '            ^‘Srks Officg


               Erik S. Siebert
               United States Attorney


       By:
               Lauren N. Weed

               Special Assistant United States Attorney

               Ronald L. Walutes, Jr.
               Assistant United States Attorney
